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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

        Plaintiff/Respondent,
                                                         Case No. 05-80955-34
 v.                                                      Hon: AVERN COHN

 WAYNE DARNELL JOYNER,

      Defendant/Petitioner.
 ___________________________________/


                              ORDER
      REGARDING DEFENDANT’S MOTION FOR AMENDMENT OF JUDGMENT

        This is a criminal case. On August 21, 2008, defendant was sentenced to a

 custody term of 168 months on his plea of guilty to violations of 21 USC §§841(a)(1),

 841(b)(1)(A)(ii)(II) and 846. On August 7, 2009, defendant filed a motion to vacate

 under 28 U.S.C. § 2255. Defendant raised three claims: 1) he is innocent because the

 Court dismissed the counts he pled guilty to; (2) he received ineffective assistance of

 counsel because his counsel failed to present documents which would have shown that

 he had diplomatic immunity; and (3) the Court is not a proper Article III court.

        The Court denied the motion under §2255 for the reasons stated in the

 government’s response. See Order filed September 25, 2009.

        On October 6, 2009, defendant filed a “Motion to the Clerk” and the instant

 “Motion for Amendment of Judgment.” In the Motion to the Clerk, defendant said he did

 not receive a copy of the government’s response and requested a copy be mailed to

 him. The Court granted the motion on October 14, 2009 and directed a copy of the
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 government’s response be mailed to defendant. See Order filed October 14, 2009.

        In the Motion for Amendment of Judgment, defendant asks the Court to

 “reconsider” denying his motion under § 2255 and again states he did not receive a

 copy of the government’s response.

        In light of the above, the Court will construe defendant’s Motion for Amendment

 of Judgment as a motion for reconsideration. Defendant shall have ten (10) days from

 receipt of the government’s response to file a brief in support of his motion for

 reconsideration, explaining why his § 2255 motion has merit.

        SO ORDERED.



                                            s/ Avern Cohn
                                           AVERN COHN
                                           UNITED STATES DISTRICT JUDGE


 Dated: October 15, 2009


 I hereby certify that a copy of the foregoing document was mailed to Wayne Darnell
 Joyner, #40683-039, FCI Lompoc, 3600 Guard Road, Lompoc, CA 93436 and the
 attorneys of record on this date, October 15, 2009, by electronic and/or ordinary mail.


                                            s/ Julie Owens
                                           Case Manager, (313) 234-5160




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